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               Exhibit A
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EXHIBIT A
                                     Curriculum Vitae
                                                               Last Updated: February 3, 2025


PERSONAL DATA
Armand H. Matheny Antommaria, MD, PhD, FAAP, HEC-C
Birth Place: Pittsburgh, Pennsylvania
Citizenship: United States of America

CONTACT INFORMATION
Address: 3333 Burnet Ave, ML 15006, Cincinnati, OH 45229
Telephone Number: (513) 636-4939
Electronic Mail Address: armand.antommaria@cchmc.org

EDUCATION
1983-1987 BSEE          Valparaiso University, with High Distinction
                        Valparaiso, IN
1983-1987   BS          Valparaiso University (Chemistry), with High Distinction
                        Valparaiso, IN
1987-1989   MD          Washington University School of Medicine
1998-2000               Saint Louis, MO
1989-2000   PhD         The University of Chicago Divinity School (Religious Ethics)
                        Chicago, IL
2000-2003   Resident University of Utah (Pediatrics)
                        Salt Lake City, UT
2005-2006   Certificate Conflict Resolution Certificate Program, University of Utah
                        Salt Lake City, UT

BOARD CERTIFICATION
2019 Pediatric Hospital Medicine, American Board of Pediatrics
2019 Healthcare Ethics Consultant-Certified, Healthcare Ethics Consultation Certification
Commission
2004 General Pediatrics, American Board of Pediatrics

PROFESSIONAL LICENSES
2012-Present Doctor of Medicine, Ohio
2006-2010    Alternative Dispute Resolution Provider—Mediator, Utah
2001-2014    Physician and Surgeon, Utah
2001-2014    Physician and Surgeon Controlled Substance, Utah

PROFESSIONAL EXPERIENCE
Full Time Positions
2019-Present Professor
             Cincinnati Children’s Hospital Medical Center, Cincinnati, OH
             Department of Surgery
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2019-Present Professor of Clinical-Affiliated
             University of Cincinnati, Cincinnati, OH
             Department of Surgery
2017-Present Professor
             Cincinnati Children’s Hospital Medical Center, Cincinnati, OH
             Division of Pediatric Hospital Medicine
2017-Present Professor of Clinical-Affiliated
             University of Cincinnati, Cincinnati, OH
             Department of Pediatrics
2016-2017    Associate Professor of Clinical-Affiliated
             University of Cincinnati, Cincinnati, OH
             Department of Pediatrics
2012-2017    Associate Professor
             Cincinnati Children’s Hospital Medical Center, Cincinnati, OH
             Division of Pediatric Hospital Medicine
2012-Present Lee Ault Carter Chair in Pediatric Ethics
             Cincinnati Children’s Hospital Medical Center
2012-2016    Associate Professor-Affiliated
             University of Cincinnati, Cincinnati, OH
             Department of Pediatrics
2010-2012    Associate Professor of Pediatrics (with Tenure)
             University of Utah School of Medicine, Salt Lake City, UT
             Divisions of Inpatient Medicine and Medical Ethics
2010-2012    Adjunct Associate Professor of Medicine
             University of Utah School of Medicine, Salt Lake City, UT
             Division of Medical Ethics and Humanities
2004-2010    Assistant Professor of Pediatrics (Tenure Track)
             University of Utah School of Medicine, Salt Lake City, UT
             Divisions of Inpatient Medicine and Medical Ethics
2004-2010    Adjunct Assistant Professor of Medicine
             University of Utah School of Medicine, Salt Lake City, UT
             Division of Medical Ethics and Humanities
2003-2004    Instructor of Pediatrics (Clinical Track)
             University of Utah School of Medicine, Salt Lake City, UT
             Divisions of Inpatient Medicine and Medical Ethics
2003-2004    Adjunct Instructor of Medicine
             University of Utah School of Medicine, Salt Lake City, UT
             Division of Medical Ethics

Part Time Positions
2024-Present Expert Witness, Report and Deposition
             Misanin, et al., v. Wilson, et al., United States District Court for the Middle
             District of South Carolina. Case No. 2:24-CV-5734-RMG
2024-Present Expert Witness, Report
             Van Garderen, et al., v. Montana, et al., Montana Fourth Judicial District Court,
             Missoula County. Cause No. DV 2023-541.
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2024           Expert Witness, Report, Deposition, and Testimony
               Moe, et al., v. Yost, et al., Court of Common Pleas, Franklin County, Ohio. Case
               No. 24-CV-002481.
2024           Expert Witness, Report and Deposition
               Noe, et al., v. Parson, et al., Circuit Court of Cole County State of Missouri. Case
               No. 23AC-CC04530.
2023-Present   Expert Witness, Report
               Voe, et al., v. Mansfiled, et al., United States District Court, Middle District of
               North Carolina. Case No. 1:23-CV-864-LCB-LPA
2023-Present   Expert Witness, Report and Deposition
               Zayre-Brown v. The North Carolina Department of Public Safety, et al., United
               States District Court, Western District of North Carolina, Case No. 3:22-CV-
               01910-MOC-DCK
2023-Present   Expert Witness, Report
               Poe, et al., v. Drummond, et al., United States District Court, Northern District of
               Oklahoma, Case No. 23-cv-00177-JFH-SH
2023-Present   Expert Witness, Report
               L.W., et al., v. Skrmetti, et al., United States District Court, Middle District of
               Tennessee, Case No. 3:23-cv-00376.
2022-2023      Expert Witness, Report, Deposition, and Testimony
               Dekker, et al., v. Marstiller, et al., United States District Court, Northern District
               of Florida, Case No. 4:22-cv-oo325-RH-MAF
2022- 2025     Expert Witness, Report, Deposition, and Testimony
               Boe, et al., and United States, v. Marshall, et al., United States District Court,
               Middle District of Alabama Northern Division, Case No. 2:22-cv0-184-LCB.
2022           Expert Witness, Report
               Jeffrey Walker, et al., v. Steven Marshall, et al., United States District Court,
               Middle District of Alabama Northern Division
2022-Present   Expert Witness, Report and Testimony
               Jane Doe, et al., v. Greg Abbott, et al., District Court of Travis County, Texas
               353rd Judicial District, Case No. D-1-GN-22-000977
2021-2022      Expert Witness, Reports, Deposition, and Testimony
               Dylan Brandt, et al., v. Leslie Rutledge, et al., United States District Court,
               Eastern District of Arkansas, Case No.: 5:21-CV-00450-JM-1
2021           Consultant
               Proctor & Gamble, Cincinnati, OH
2019           Consultant
               Sanofi Genzyme, Cambridge, MA
2018-2023      Consultant
               Center for Conflict Resolution in Healthcare, Memphis, TN
2017-2020      Consultant
               Amicus Therapeutics, Cranbury, NJ
2017           Expert Witness, Report
               Robert J. Klickovich, MD, PLLC v. Tristate Arthritis & Rheumatology, PSC, et
               al., Commonwealth of Kentucky, Boone Circuit Court, Division III, Civil Action
               No. 16-CI-01690
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2017          Consultant
              Sarepta Therapeutics, Cambridge, MA
2014          Consultant
              Genzyme, A Sanofi Company, Cambridge, MA

Editorial Experience
Editorial Board
2020-Present Pediatrics, Associate Editor for Ethics Rounds and Member of the Executive
              Editorial Board
2015-2020 Journal of Clinical Ethics
2009-2020 Journal of Medical Humanities

Guest Academic Editor
2017        PLOS|ONE

Ad Hoc Reviewer: Academic Medicine, Academic Pediatrics, AJOB Primary Research,
American Journal of Bioethics, American Journal of Law & Medicine, American Journal of
Medical Genetics, American Journal of Transplantation, Archives of Disease in Childhood,
BMC Medical Ethics, BMJ Open, Canadian Journal of Bioethics, CHEST, Clinical
Transplantation, European Journal of Human Genetics, European Journal of Pediatrics,
Frontiers in Genetics, Hospital Medicine, International Journal of Health Policy and
Management, International Journal of Nursing Studies, Journal of Adolescent and Young Adult
Oncology, Journal of Clinical Ethics, Journal of Empirical Research on Human Research
Ethics, Journal of General Internal Medicine, Journal of Healthcare Leadership, Journal of
Hospital Medicine, Journal of the Kennedy Institute of Ethics, Journal of Law, Medicine &
Ethics, Journal of Medical Ethics, Journal of Medical Humanities, Journal of Medicine and Life,
Journal of Palliative Care, Journal of Pediatrics, Journal of Pediatric Surgery, Mayo Clinic
Proceedings, Medicine, Healthcare and Philosophy, Molecular Diagnosis & Therapy, New
England Journal of Medicine, Patient Preference and Adherence, Pediatrics, Pediatrics in
Review, Personalized Medicine, PLOS|ONE, Risk Management and Healthcare Policy, Saudi
Medical Journal, SSM - Qualitative Research in Health, and Theoretical Medicine and Bioethics

SCHOLASTIC AND PROFESSIONAL HONORS
2024       Member, Sigma Xi: The Scientific Research Honor Society, Research Triangle
           Park, NC
2023       Digital Health Award, Bronze Medal in the Digital Health Media/Publications
           category for Pediatric Collections: Ethics Rounds: A Casebook in Pediatric
           Bioethics Part II, Health Information Resource Center, Libertyville, IL
2021       Hidden Gem Award, Cincinnati Children’s Hospital Medical Center, Cincinnati,
           OH
2019-2023  Presidential Citation, American Society for Bioethics and Humanities, Chicago,
           IL
2016       Laura Mirkinson, MD, FAAP Lecturer, Section on Hospital Medicine, American
           Academy of Pediatrics, Elk Grove Village, IL
2016, 2018 Certificate of Excellence, American Society for Bioethics and Humanities,
           Glenview, IL
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2013, 2016    Senior Resident Division Teaching Award, Cincinnati Children’s Hospital
              Medical Center, Cincinnati, OH
2012          Role Model, Quality Review Committee, Primary Children’s Medical Center, Salt
              Lake City, UT
2011          Member, Society for Pediatric Research, The Woodlands, TX
2011          Presidential Citation, American Society for Bioethics and Humanities, Glenview,
              IL
2009          Role Model, Quality Review Committee, Primary Children’s Medical Center, Salt
              Lake City, UT
2008          Nominee, Physician of the Year, Primary Children’s Medical Center, Salt Lake
              City, UT
2005-2006     Fellow, Medical Scholars Program, University of Utah School of Medicine, Salt
              Lake City, UT
1995-1997     Doctoral Scholar, Crossroads, A Program of Evangelicals for Social Action,
              Philadelphia PA
1989-1992     Fellow, The Pew Program in Medicine, Arts, and the Social Sciences, University
              of Chicago, Chicago, IL

ADMINISTRATIVE EXPERIENCE
Administrative Duties
2023-2024    Chair, Literature Selection Technical Review Committee, National Library of
             Medicine, Bethesda, MD
2019-Present Chair, Oversight Committee, Cincinnati Fetal Center, Cincinnati, OH
2014-Present Chair, Ethics Committee, Cincinnati Children’s Hospital Medical Center,
             Cincinnati, OH
2012-Present Director, Ethics Center, Cincinnati Children’s Hospital Medical Center,
             Cincinnati, OH
2012-Present Chair, Ethics Consultation Subcommittee, Cincinnati Children’s Hospital
             Medical Center, Cincinnati, OH
2010         Co-Chair, Ethics Subcommittee, Work Group for Emergency Mass Critical Care
             in Pediatrics, Centers for Disease Control and Prevention, Atlanta, GA
2009         Chair, Ethics Working Group, H1N1 and Winter Surge, Primary Children’s
             Medical Center, Salt Lake City, UT
2005-2012    Chair, Ethics Committee, Primary Children’s Medical Center, Salt Lake City, UT
2005-2012    Chair, Ethics Consultation Subcommittee, Primary Children’s Medical Center,
             Salt Lake City, UT
2003-4       Chair, Clinical Pertinence Committee, Primary Children’s Medical Center, Salt
             Lake City, UT

Professional & Scientific Committees
Committees
2024-Present Member, Program Committee, American Society for Bioethics and Humanities,
              Schaumburg, IL
2023-Present Member, Expert Committee, Humanitarian Access Program, Alnylam
              Pharmaceuticals, Cambridge, MA
2021          Member, EMCO Capacity Collaboration, Ohio Hospital Association, Columbus,
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              OH
2020-2021     Member, Allocation of Scarce Resources Work Group, Ohio Hospital
              Association, Columbus, OH
2020-2024     Member, Literature Selection Technical Review Committee, National Library of
              Medicine, Bethesda, MD
2020          Member, Crisis Standards of Care Workgroup, The Health Collaborative,
              Cincinnati, OH
2019-2023     Member, Healthcare Ethics Consultant Certification Commission, Oak Park, IL
2019          Member, Expert Panel, Pediatric Oncology End-of-Life Care Quality Markers,
              Institute for Cancer Outcomes & Survivorship, University of Alabama at
              Birmingham, Birmingham, AL
2018          Member, Resource Planning and Allocation Team Implementation Task Force,
              Ohio Department of Health, Columbus, OH
2012-2022     Member, Gaucher Initiative Medical Expert Committee, Project HOPE,
              Millwood, VA
2009-2014     Member, Clinical Ethics Consultation Affairs Committee, American Society for
              Bioethics and Humanities, Glenview, IL
2005-2011     Member, Committee on Bioethics, American Academy of Pediatrics, Oak Park,
              IL

Data Safety and Monitoring Boards
2019-Present Member, Data and Safety Monitoring Board, Sickle Cell Domestic Trials,
              National Heart, Lung, and Blood Institute, Bethesda, MD
2018-2019     Member, Standing Safety Committee for P-188-NF (Carmeseal-MDTM) in
              Duchenne Muscular Dystrophy, Phrixus Pharmaceuticals, Inc., Ann Arbor, MI
2017-Present Member, Observational Study Monitoring Board, Sickle Cell Disease
              Observational Monitoring Board, National Heart, Lung, and Blood Institute,
              Bethesda, MD
2016-2018     Member, Observational Study Monitoring Board, Long Term Effects of
              Hydroxyurea in Children with Sickle Cell Anemia, National Heart, Lung, and
              Blood Institute, Bethesda, MD

Reviewer
2020-2024    Abstract Reviewer, American Society for Bioethics and Humanities Annual
             Meeting
2020         Grant Reviewer, The Croatian Science Foundation, Hvatska zaklada za znanost
             (HRZZ)
2018         Book Proposal Reviewer, Elsevier
2018-2019    Category Leader, Religion, Culture, and Social Sciences, American Society for
             Bioethics and Humanities Annual Meeting
2017         Timekeeper, American Society for Bioethics and Humanities Annual Meeting
2017-Present Abstract Reviewer, Pediatric Academic Societies Annual Meeting
2016-2021    Workshop Reviewer, Pediatric Academic Societies Annual Meeting
2016         Grant Reviewer, Innovation Research Incentives Scheme, The Netherlands
             Organisation for Health Research and Development
2016-2017    Abstract Reviewer, American Society for Bioethics and Humanities Annual
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              Meeting
2014, 2016    External Peer Reviewer, PSI Foundation, Toronto, Ontario, Canada
2014          Member, Scientific Committee, International Conference on Clinical Ethics and
              Consultation
2013          Abstract Reviewer, American Society for Bioethics and Humanities Annual
              Meeting
2013          Reviewer, Open Research Area Plus, Agence Nationale de la Research, Deutsche
              Forschungsgemeinschaft, Economic and Social Research Council, National
              Science Foundation, and Organization for Scientific Research
2011-2012     Abstract Reviewer, Pediatric Academic Societies Annual Meeting
2011-2013     Workshop Reviewer, Pediatric Academic Societies Annual Meeting
2011-2014     Abstract Reviewer, Pediatric Hospital Medicine Annual Meeting
2011-2012     Religious Studies Subcommittee Leader, Program Committee, American Society
              for Bioethics and Humanities Annual Meeting
2010          Abstract Reviewer, American Society for Bioethics and Humanities Annual
              Meeting

Other
2023          Member, Student Paper Committee, American Society for Bioethics and
              Humanities
2021          Timekeeper, American Society for Bioethics and Humanities Annual Meeting
2021          Mentor, Early Career Advisor Professional Development Track, American
              Society for Bioethics and Humanities.
2021          Mentor, Early Career Advisor Paper or Project Track, American Society for
              Bioethics and Humanities.
2109          Mentor, Early Career Advising Program, American Society for Bioethics and
              Humanities
2018          Passing Point Determination, Healthcare Ethics Consultant-Certified
              Examination, Healthcare Ethics Consultant Certification Commission
2018          Member, Examination Committee, Healthcare Ethics Consultant-Certified
              Examination, Healthcare Ethics Consultant Certification Commission
2018          Item Writer, Healthcare Ethics Consultant-Certified Examination, Healthcare
              Ethics Consultant Certification Commission

UNIVERSITY COMMUNITY ACTIVITIES
Cincinnati Children’s Hospital Medical Center
2025-Present Member, Data Strategy Leadership Committee
2023-Present Member, Artificial Intelligence Governance Council
2023-Present Member, Executive Committee, Discover Together Biobank
2020-Present Member, Faculty Diversity and Inclusion Steering Committee
2020-2022    Member, Medical Management of COVID-19 Committee
2020-2021    Member, Caregiver Refusal Team
2020-2021    Member, COVID-19 Vaccine Allocation Committee
2020         Member, Personal Protective Equipment Subcommittee of the COVID-19
             Steering. Committee
2018-2019    Member, Planning Committee, Center for Clinical & Translational Science &
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               Training Research Ethics Conference
2017-Present   Member, Donor Selection Committee
2017-2020      Member, Employee Emergency Fund Review Committee
2017           Member, Root Cause Analysis Team
2016-2017      Member, Planning Committee, Center for Clinical & Translational Science &
               Training Research Ethics Conference
2015-2019      Member, Destination Excellence Medical Advisory Committee
2015-Present   Member, Disorders of Sexual Development Case Review Committee
2015-2019      Member, Destination Excellence Case Review Committee
2014-2018      Member, Genomics Review Group, Institutional Review Board
2014-2017      Member, Center for Pediatric Genomics Leadership Committee
2013-2017      Member, Genetic Testing Subcommittee, Health Network
2013-2016      Member, Schwartz Center Rounds Planning Committee
2013-2014      Member, Genomics Ad Hoc Subcommittee, Board of Directors
2012-Present   Member, Cincinnati Fetal Center Oversight Committee
2012-Present   Member, Ethics Committee
2012-Present   Member, G-23
2012-2016      Member, Integrated Solid Organ Transplant Steering Committee

University of Utah
2009-2012     Member, Consolidated Hearing Committee

University of Utah School of Medicine
2010-2012     Member, Medical Ethics, Humanities, and Cultural Competence Thread
              Committee
2008-2010     Member, Fourth Year Curriculum Committee

University of Utah Department of Pediatrics
2010-2011     Member, Planning Committee, 25th Annual Biological Basis of Children’s Health
              Conference, “Sex, Gender, and Sexuality”
2009-2012     Member, Medical Executive Committee
2005-2012     Member, Retention, Promotion, and Tenure Committee
2004-2012     Interviewer, Residency Program
2003-2012     Member, Education Committee

Intermountain Healthcare
 2009-2012 Member, System-Wide Bioethics Resource Service
 2009-2012 Member, Pediatric Guidance Council

Primary Children’s Medical Center
2012-2012    Member, Shared Accountability Organization Steering Committee
2009         Member, H1N1 and Winter Surge Executive Planning Team
2005-2010    Member, Continuing Medical Education Committee
2005-2010    Member, Grand Rounds Planning Committee
2003-2012    Member, Ethics Committee
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ACTIVE MEMBERSHIPS IN PROFESSIONAL SOCIETIES
2012-Present Association of Bioethics Program Directors
2011-Present Society for Pediatric Research
2000-Present American Academy of Pediatrics
1999-Present American Society of Bioethics and Humanities

FUNDING
Past Grants
2015-2019   “Better Outcomes for Children: Promoting Excellence in Healthcare Genomics to
            Inform Policy.”
            Percent Effort: 9%
            National Human Genome Research Institute
            Grant Number: 1U01 HG008666-01
            Role: Investigator

2015-2016    “Ethics of Informed Consent for Youth in Foster Care”
             Direct Costs: $10,000
             Ethics Grant, Center for Clinical and Translational Science and Training
             University of Cincinnati Academic Health Center
             Role: Co-Investigator

2014-2015    “Extreme Personal Exposure Biomarker Levels: Engaging Community Physicians
             and Ethicists for Guidance”
             Direct Costs: $11,640
             Center for Environmental Genetics
             University of Cincinnati College of Medicine
             Role: Investigator

2014-2015    “Child, Adolescent, and Parent Opinions on Disclosure Policies for Incidental
             Findings in Clinical Whole Exome Sequencing”
             Direct Costs: $4,434
             Ethics Grant, Center for Clinical and Translational Science and Training,
             University of Cincinnati Academic Health Center
             Role: Principal Investigator

2013-2014    “Better Outcomes for Children: GWAS & PheWAS in eMERGEII
             Percent Effort: 5%
             National Human Genome Research Institute
             Grant Number: 3U01HG006828-0251
             Role: Investigator
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2004-2005      "Potential Patients' Knowledge, Attitudes, and Beliefs Regarding Participating in
              Medical Education: Can They be Interpreted in Terms of Presumed Consent?"
              Direct Costs: $8,000
              Interdisciplinary Research in Applied Ethics and Human Values, University
              Research Committee, University of Utah
              Role: Principal Investigator
TEACHING RESPONSIBILITIES/ASSIGNMENTS
Course and Curriculum Development
2003-2012   Medical Ethics, Internal Medicine 7560, University of Utah School of Medicine,
            Taught 1 time per year, Taken by medical students, Enrollment 100

Course Lectures
2018, 2021- Introduction to Biotechnology, “Ethics and Biotechnology” and “Clinical Ethics,”
             BIOL
Present      3027, University of Cincinnati, Taught 1 time per year, Taken by undergraduate
             students, Enrollment 25.
2018-Present Biomedical Ethics, “Conscientious Objection in Healthcare” and “Ethical Issues
             in the Care of Transgender Adolescents,” MEDS 4035 & MEDS 4036, University
             of Cincinnati College of Medicine, Taught 1 time per year, Taken by senior
             undergraduate students, Enrollment 52.
2016         Foundations of Healthcare Ethics and Law, “Clinical Ethics,” HESA 390, Xavier
             University.
2014-2020    Physicians and Society, “Transfusion and the Jehovah’s Witness Faith,” “Obesity
             Management: Ethics, Policy, and Physician Implicit Bias,” “Embryos and Ethics:
             The Ethics of Designer Babies,” “Ethics and Genetic Testing,” and “Ethics and
             Direct to Consumer Genetic Testing,” 26950112 and 26950116, University of
             Cincinnati School of Medicine, Taken by first and second year medical students,
             Enrollment 100.
2014-Present Ethical Issues in Health Care, “Ethical Issues in Managing Drug Shortages: The
             Macro, Meso, and Micro Levels,” HESA 583, College of Social Sciences, Health,
             and Education Health Services Administration, Xavier University, Taken by
             health services administration students, Enrollment 25.
2009         Physical Diagnosis II, Internal Medicine 7160, University of Utah School of
             Medicine, Taught 1 time per year, Taken by medical students, Enrollment 100
2003-2012    Medical Ethics, Internal Medicine 7560, University of Utah School of Medicine,
             Taught 1 time per year, Taken by fourth year medical students, Enrollment 100

Small Group Teaching
2024         Clinical Ethics Consortium Tutorial B, BETH 731B, Harvard Medical School,
             Taught 1 time, Taken by Master of Science in Bioethics students.
2018-Present Ethics in Research, GNTD 7003-001, University of Cincinnati School of
             Medicine, Taught 1 time per year, Taken by fellows, MS, and PhD students,
             Enrollment 110.
2007         Physical Diagnosis I, Internal Medicine 7150, University of Utah School of
             Medicine, Taught 1 time per year, Taken by medical students, Enrollment 100
2003-2012    Medical Ethics, Internal Medicine 7560, University of Utah School of Medicine,
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              Taught 1 time per year, Taken by fourth medical students, Enrollment 100
2003          Pediatric Organ System, Pediatrics 7020, University of Utah School of Medicine,
              Taught 1 time per year, Taken by medical students, Enrollment 100
Graduate Student Committees
2018-2022   Chair, Scholarship Oversight Committee, William Sveen, Pediatric Critical Care
            Fellowship, Cincinnati Children’s Hospital Medical Center, Cincinnati, OH
2018-2020   Member, Scholarship Oversight Committee, Anne Heuerman, Genetic
            Counseling, University of Cincinnati, Cincinnati, OH
2017-2019   Chair, Scholarship Oversight Committee, Bryana Rivers, Genetic Counseling,
            University of Cincinnati, Cincinnati, OH
2013-2015   Mentor, Sophia Hufnagel, Combined Pediatrics/Genetics Residency, Cincinnati
            Children’s Hospital Medical Center, Cincinnati, OH
2013-2015   Co-Chair, Scholarship Oversight Committee, Andrea Murad, Genetic Counseling,
            University of Cincinnati, Cincinnati, OH
2013-2014   Member, Scholarship Oversight Committee, Grace Tran, Genetic Counseling,
            University of Cincinnati, Cincinnati, OH
2011-2012   Chair, Scholarship Oversight Committee, Kevin E. Nelson, MD, PhD, Pediatric
            Inpatient Medicine Fellowship, University of Utah, Salt Lake City, UT

Continuing Education Lectures
2008 Choosing Healthplans All Together (CHAT) Exercise Facilitator, 18th Annual
      Intermountain Medical Ethics Conference, “Setting Priorities for Healthcare in Utah:
      What Choices are We Ready to Make?,” Salt Lake City, Utah, October 3.
2007 Speaker, Infant Medical Surgical Unit, Primary Children’s Medical Center, “Withholding
      and Withdrawing Artificial Nutrition and Hydration: Can It Be Consistent With Care?,”
      Salt Lake City, Utah, September 6.
2007 Faculty Scholar-in Residence, Summer Seminar, “The Role of Religion in Bioethics,”
      Utah Valley State College, Orem, Utah, May 1.
2006 Workshop Leader, Faculty Education Retreat, “Publications and Publishing in Medical
      Education,” University of Utah School of Medicine, Salt Lake City, Utah, September 15.
2006 Breakout Session, 16th Annual Intermountain Medical Ethics Conference, “Donation after
      Cardiac Death: Evolution of a Policy,” Salt Lake City, Utah, March 28.

Other Educational Activities
2008 Instructor, Contemporary Ethical Issues in Medicine and Medical Research, Osher
      Lifelong Learning Institute, University of Utah, “Religion and Bioethics: Religiously
      Based Demands for and Refusals of Treatment,” Salt Lake City, Utah, February 7.
2007 Speaker, Biology Seminar, Utah Valley State College, “Is He Dead?: Criteria of the
      Determination of Death and Their Implications for Withdrawing Treatment and
      Recovering Organs for Transplant,” Orem, Utah, September 21.

PEER-REVIEWED JOURNAL ARTICLES
1. Armand H. Matheny Antommaria, Matthew Kelleher, and Rachel J. Peterson. (In Press)
   “Quality of Evidence and Strength of Recommendations in American Academy of
   Pediatrics’ Guidelines.” Pediatrics.
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2. Armand H. Matheny Antommaria. (2024) “Decision Making for Adolescents with Gender
    Dysphoria.” Perspectives in Biology and Medicine. 67: 244-60. PMID: 38828602.
3. Erica K. Salter, D. Micah Hester, Lou Vinarcsik, Armand H. Matheny Antommaria, Johan
    Bester, Jeffrey Blustein, Ellen Wright Clayton, Douglas S. Diekema, Ana S. Iltis, Loretta M.
    Kopelman, Jay R. Malone, Mark R. Mercurio, Mark C. Navin, Erin Talati Paquette,
    Thaddeus Mason Pope, Rosamond Rhodes, and Lainie F. Ross, (2023) “Pediatric Decision
    Making: Consensus Recommendations,” Pediatrics. 152: e2023061832. PMID: 37555276.
4. William N. Sveen, Armand H. Matheny Antommaria, Stephen Gilene, and Erika L. Stalets.
    (2023) “Adverse Events During Apnea Testing for the Determination of Death by Neurologic
    Criteria: A Single Center, Retrospective Pediatric Cohort.” Pediatric Critical Care
    Medicine. 24: 399-405. PMID: 36815829.
5. Erica K. Salter, Jay R. Malone, Amanda Berg, Annie B. Friedrich, Alexandra Hucker,
    Hillary King, and Armand H. Matheny Antommaria. (2023) “Triage Policies at U.S.
    Hospitals with Pediatric Intensive Care Units.” AJOB Empirical Bioethics. 14: 84-90.
    PMID: 36576201.
6. Armand H. Matheny Antommaria, Elizabeth Lanphier, Anne Housholder, and Michelle
    McGowan. (2023). “A Mixed Methods Analysis of Requests for Religious Exemptions to a
    COVID-19 Vaccine Requirement.” AJOB Empirical Bioethics. 14: 15-22.
    PMID: 36161802.
7. Anne C Heuerman, Danielle Bessett, Armand H. Matheny Antommaria, Leandra. K.
    Tolusso, Nicki Smith, Alison H. Norris and Michelle L. McGowan (2022). "Experiences of
    Reproductive Genetic Counselors with Abortion Regulations in Ohio." Journal of Genetic
    Counseling. 31: 641-652. PMID: 34755409.
8. Armand H. Matheny Antommaria and Ndidi I. Unaka. (2021) “Counterpoint: Prioritizing
    Health Care Workers for Scarce Critical Care Resources is Impractical and Unjust. Journal
    of Hospital Medicine. 16: 182-3. PMID 33617445.
9. Gregory A. Grabowski, Armand H. Matheny Antommaria, Edwin H. Kolodny, and Pramod
    K. Mistry. (2021) “Gaucher Disease: Basic and Translational Science Needs for More
    Complete Therapy and Management.” Molecular Genetics and Metabolism. 132: 59-75.
    PMID: 33419694.
10. Armand H. Matheny Antommaria, Laura Monhollen, and Joshua K. Schaffzin. (2021) “An
    Ethical Analysis of Hospital Visitor Restrictions and Masking Requirements During the
    COVID-19.” Journal of Clinical Ethics. 32(1): 35-44. PMID 33416516.
11. Armand H. Matheny Antommaria (2020) “The Pediatric Hospital Medicine Core
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3. Armand H. Matheny Antommaria and Elizabeth Lanphier. (2022) “Supporting Marginalized
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4. Mary V. Greiner and Armand H. Matheny Antommaria. (2022) “Enrolling Foster Youth in
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5. William Sveen and Armand H. Matheny Antommaria. (2020) “Why Healthcare Workers
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8. Armand H. Matheny Antommaria, Robert A. Shapiro, and Lee Ann E. Conard (2019)
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    for Recognition and Individualized Assessment.” American Journal of Bioethics. 19: 72-74.
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9. Armand H. Matheny Antommaria (2018) “Accepting Things at Face Value: Insurance
    Coverage for Transgender Healthcare.” American Journal of Bioethics. 18: 21-23. PMID:
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10. Armand H. Matheny Antommaria and Judith R. Ragsdale (2018) “Shaken, not Stirred: What
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11. Armand H. Matheny Antommaria (2017) “Issues of Fidelity and Trust Are Intrinsic to
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13. Armand H. Matheny Antommaria and Ron King. (2016) “Moral Hazard and Transparency
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17. Armand H. Matheny Antommaria (2015) "Intensified Conflict Instead of Closure: Clinical
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18. Lainie Friedman Ross and Armand H. Matheny Antommaria (2014) “The need to promote
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19. Armand H. Matheny Antommaria (2014) “Pubertal Suppression and Professional
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23. William Meadow, Chris Feudtner, Armand H. Matheny Antommaria, Dane Sommer, John
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24. C. C. Weitzman, S. Schlegel, Nancy Murphy, Armand H. Matheny Antommaria, J. P.
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25. Armand H. Matheny Antommaria and Susan Bratton (2008) “Nurses’ Attitudes toward
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26. Armand H. Matheny Antommaria and Nannette C. Dudley (2007) "Should Families Be
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27. Armand H. Matheny Antommaria (2006) “The Proper Scope of Analysis of Conscientious
    Objection in Healthcare: Individual Rights or Professional Obligations” Teaching Ethics, 7:
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28. Armand H. Matheny Antommaria and Rajendu Srivastava (2006) “If Cardiologists Take
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29. Armand H. Matheny Antommaria (2003) “I Paid Out-of-Pocket for My Son’s Circumcision
    at Happy Valley Tattoo and Piercing: Alternative Framings of the Debate over Routine
    Neonatal Male Circumcision,” American Journal of Bioethics 3: 51-3. PMID: 12859817.

Letters
1. Benjamin S. Wilfond, David Magnus, Armand H Matheny Antommaria, Paul Appelbaum,
   Judy Aschner, Keith J. Barrington, Tom Beauchamp, Renee D. Boss, Wylie Burke, Arthur L.
   Caplan, Alexander M. Capron, Mildred Cho, Ellen Wright Clayton, F. Sessions Cole, Brian
   A. Darlow, Douglas Diekema, Ruth R. Faden, Chris Feudtner, Joseph J. Fins, Norman C.
   Fost, Joel Frader, D. Micah Hester, Annie Janvier, Steven Joffe, Jeffrey Kahn, Nancy E.
   Kass, Eric Kodish, John D. Lantos, Laurence McCullough, Ross McKinney, Jr., William
   Deadow, P. Pearl O’Rourke, Kathleen E. Powderly, DeWayne M. Pursley, Lainie Friedman
   Ross, Sadath Sayeed, Richard R. Sharp, Jeremy Sugarman, William O. Tarnow-Mordi, Holly
   Taylor, Tom Tomlison, Robert D. Truog, Yoram T. Unguru, Kathryn L. Weise, David
   Woodrum, Stuart Youngner (2013) “The OHRP and SUPPORT,” New England Journal of
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2. Lainie Friedman Ross and Armand H. Matheny Antommaria (2011) “In Further Defense of
   the American Academy of Pediatrics Committee on Bioethics ‘Children as Hematopoietic
   Stem Cell Donors’ Statement.” Pediatric Blood & Cancer. 57: 1088-9.
3. Armand H. Matheny Antommaria (2011) “Growth Attenuation: Health Outcomes and Social
   Services.” Hastings Center Report, 41(5): 4. PMID: 21980886.
4. Susan Bratton and Armand H. Matheny Antommaria (2010) “Dead Donor Rule and Organ
   Procurement: The Authors Reply.” Pediatric Critical Care Medicine, 11: 314-5.
5. Armand H. Matheny Antommaria and Joel Frader (2009) “Policies of Children’s Hospitals
   on Donation After Cardiac Death—Reply.” Journal of the American Medical Association,
   302: 845.

Case Reports
Armand H. Matheny Antommaria (2002) "Case 4.9: Inappropriate Access to a Celebrity's
Medical Records." In Ethics and Information Technology: A Case-Based Approach to a Health
Care System in Transition, James G. Anderson and Kenneth W. Goodman, 79-80. New York:
Springer-Verlag.

Book Reviews
1. Armand H. Matheny Antommaria (2024) Review of Mormonism, Medicine, and Bioethics,
   by Courtney S. Campbell. Mormon Studies Review 11: 182-8.
2. Armand H. Matheny Antommaria (2023) ”An Ambitious Goal: A Grounded, Informed, and
   Compelling Theological Bioethics.” Review of Disability’s Challenge to Theology: Genes,
   Eugenics, and the Metaphysics of Modern Medicine by Devan Stahl. Hastings Center Report
   53(2): 44-45.
3. Armand H. Matheny Antommaria (2021) Review of When Harry Became Sally: Responding
   to the Transgender Moment, by Ryan T. Anderson. Journal of Medical Humanities 42: 195-
   9. PMID 31808021.
4. Armand H. Matheny Antommaria (2012) Review of The Ethics of Organ Transplantation, by
   Steven J. Jensen, ed., Journal of the American Medical Association 308: 1482-3.
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5. Armand H Matheny Antommaria (2012) Review of The Soul of Medicine: Spiritual
    Perspectives and Clinical Practice, by John R. Peteet and Michael N. D'Ambra, ed., Journal
    of the American Medical Association 308: 87.
6. Armand H. Matheny Antommaria (2009) Review of Conflicts of Conscience in Health Care:
    An Institutional Compromise, by Holly Fernandez Lynch. American Journal of Bioethics 9:
    63-4.
7. Armand H. Matheny Antommaria (2008) Review of A Practical Guide to Clinical Ethics
    Consulting: Expertise, Ethos, and Power, by Christopher Meyers. American Journal of
    Bioethics 8: 72-3.
8. Armand H. Matheny Antommaria (2004) Review of Children, Ethics, and Modern Medicine,
    by Richard B. Miller. American Journal of Bioethics 4: 127-8.
9. Armand H. Matheny Antommaria (2002) Review of Ward Ethics: Dilemmas for Medical
    Students and Doctors in Training, by Thomasine Kushner and David Thomasma, ed.
    American Journal of Bioethics 2: 70-1. PMID: 22494193.
10. Armand H. Matheny Antommaria (1999) Review of Human Cloning: Religious Responses,
    by Ronald Cole-Turner, ed. Prism 6 (March/April): 21.
11. Armand H. Matheny Antommaria (1999) Review of Christian Theology and Medical Ethics:
    Four Contemporary Approaches, by James B. Tubbs, Jr. Journal of Religion 79 (April): 333-
    5.
12. Armand H. Matheny Antommaria (1997) Review of Body, Soul, and Bioethics, by Gilbert C.
    Meilaender. Prism 4 (May/June): 28.

Newspaper Articles
1. W. Bradley Poss and Armand H. Matheny Antommaria (2010) “Mass casualty planning must
   incorporate needs of children.” AAP News 31 (July): 38.
2. Robert Murray and Armand H. Matheny Antommaria (2010) “Pediatricians should work
   with school nurses to develop action plans for children with DNAR orders.” AAP News 31
   (May): 30..
3. Armand H. Matheny Antommaria (2009) “Addressing physicians’ conscientious objections
   in health care.” AAP News 30 (December): 32.

UNPUBLISHED POSTER PRESENTATIONS
1. Armand H. Matheny Antommaria. (2018) “Ethical Issues in the Care of International
   Patients: A Case Study.” International Conference on Clinical Ethics and Consultation,
   Oxford, United Kingdom.
2. Jill S Sweney, Brad Poss, Colin Grissom, Brent Wallace, and Armand H Matheny
   Antommaria, (2010) “Development of a Statewide Pediatric Pandemic Triage Plan in Utah.”
   Pediatric Academic Societies Annual Meeting, Vancouver, Canada. E-PAS20103713.147.
3. Christopher G. Maloney, Armand H. Matheny Antommaria, James F. Bale, Thomas Greene,
   Jian Ying, Gena Fletcher, and Rajendu Srivastava (2010) “Why Do Pediatric Interns Violate
   the 30 Hour Work Rule?” Pediatric Academic Societies Annual Meeting, Vancouver,
   Canada. E-PAS20101500.596
4. Armand H. Matheny Antommaria and Edward B. Clark (2007) “Resolving Conflict through
   Bioethics Mediation.” 3rd International Conference on Ethics Consultation and Clinical
   Ethics, Toronto, Canada.
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5. Elizabeth Tyson, Tracy Hill, Armand Antommaria, Gena Fletcher, and Flory Nkoy (2007)
   “Physician Practice Patterns Regarding Nasogastric Feeding Supplementation and
   Intravenous Fluids in Bronchiolitis Patients.” Pediatrics Academic Societies Annual
   Meeting, Toronto, Canada. E-PAS2007:61300.

ORAL PRESENTATIONS
Keynote/Plenary Lectures
International
1. 2021, Panelist, Partnership for Quality Medical Donations, Charitable Access Programming
    for Rare Diseases, “Ethical Issues,” Webinar, April 6.
2. 2017, Invited Speaker, Spina Bifida Fetoscopic Repair Study Group and Consortium, “Ethics
    of Innovation and Research in Fetal Surgery,” Cincinnati, Ohio, October 26.
3. 2014, Invited Speaker, CIC 2013 CCI: Canadian Immunization Conference, “Condition-of-
    Service Influenza Prevention in Health Care Settings,” Ottawa, Canada, December 2.
4. 2014, Invited Speaker, National Conference of the Chinese Pediatric Society, “A Brief
    Introduction to Pediatric Research and Clinical Ethics,” Chongqing, China, September 12.

National
1. 2020, Panelist, Children’s Mercy Bioethics Center, “Ethical Issues in the COVID Pandemic
   at Children’s Hospitals,” Webinar, March 2.
2. 2019, Invited Speaker, North American Fetal Therapy Network (NAFTnet), “Ethics of
   Innovation,” Chicago, Illinois, October 12.
3. 2019, Panelist, National Society of Genetic Counselors Prenatal Special Interest Group,
   “Fetal Intervention Ethics,” Webinar, September 12.
4. 2017, Invited Participant, American College of Epidemiology Annual Meeting,
   Preconference Workshop, “Extreme Personal Exposure Biomarker Levels: Guidance for
   Study Investigators,” New Orleans, Louisiana, September 24.
5. 2016, Invited Speaker, American Academy of Pediatrics National Conference & Exhibition,
   Joint Program: Section on Hospital Medicine and Section on Bioethics, “Resource
   Allocation: Do We Spend Money to Save One Patient with Ebola or Over a 1,000?” San
   Francisco, California, October 23.
6. 2016, Invited Speaker, 26th Annual Specialist Education in Extracorporeal Membrane
   Oxygenation (SEECHMO) Conference, “Ethical Issues in ECMO: The Bridge to Nowhere,”
   Cincinnati, Ohio, June 5.
7. 2015, Invited Speaker, Extracorporeal Life Support Organization (ELSO) 26th Annual
   Conference, “ECMO-Supported Donation after Circulatory Death: An Ethical Analysis,”
   Atlanta, Georgia, September 20.
8. 2014, Invited Speaker, Pediatric Evidence-Based Practice 2014 Conference: Evidence
   Implementation for Changing Models of Pediatric Health Care, “Ethical Issues in Evidence-
   Based Practice,” Cincinnati, Ohio, September 19.
9. 2014, Invited Speaker, 6th Annual David Kline Symposium on Public Philosophy: Exploring
   the Synergy Between Pediatric Bioethics and Child Rights, “Does Predictive Genetic Testing
   for Adult Onset Conditions that Are Not Medically Actionable in Childhood Violate
   Children’s Rights?” Jacksonville, Florida, March 6.
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10. 2010, Invited Speaker, Quest for Research Excellence: The Intersection of Standards, Culture
    and Ethics in Childhood Obesity, “Research Integrity and Religious Issues in Childhood
    Obesity Research,” Denver, Colorado, April 21.
11. 2010, Invited Speaker, Symposium on the Future of Rights of Conscience in Health Care:
    Legal and Ethical Perspectives, J. Reuben Clark Law School at Brigham Young University
    and the Ave Maria School of Law, “Conscientious Objection in Clinical Practice:
    Disclosure, Consent, Referral, and Emergency Treatment,” Provo, Utah, February 26.
12. 2009, Invited Speaker, Pediatric Organ Donation Summit, “Research Findings Regarding
    Variations in Pediatric Hospital Donation after Cardiac Death Policies,” Chicago, Illinois,
    August 18.
13. 2008, Meet-the-Experts, American Academy of Pediatrics National Conference &
    Exhibition, “Physician Refusal to Provide Treatment: What are the ethical issues?” Boston,
    Massachusetts, October 11.
14. 2008, Invited Conference Faulty, Conscience and Clinical Practice: Medical Ethics in the
    Face of Moral Controversy, The MacLean Center for Clinical Medical Ethics at the
    University of Chicago, “Defending Positions or Identifying Interests: The Uses of Ethical
    Argumentation in the Debate over Conscience in Clinical Practice,” Chicago, IL, March 18.
15. 2007, Symposium Speaker, Alternative Dispute Resolution Strategies in End-of-Life
    Decisions, The Ohio State University Mortiz College of Law, “The Representation of
    Children in Disputes at the End-of-Life,” Columbus, Ohio, January 18.
16. 2005, Keynote Speaker, Decisions and Families, Journal of Law and Family Studies and The
    University of Utah S.J. Quinney College of Law, “Jehovah’s Witnesses, Roman Catholicism,
    and Calvinism: Religion and State Intervention in Parental, Medical Decision-Making,” Salt
    Lake City, Utah, September 23.

Regional/Local
1. 2024, Speaker, Current Trends 2024: Discover Big Ideas for the Smallest Lungs, “Ethics for
   RTs: ECMO and Trachs,” Cincinnati, Ohio, November 14.
2. 2024, Case Expert Commentator, Center for Bioethics Clinical Ethics Consortium, Harvard
   Medical School, “Can he be his mother’s keeper?”, Boston, Massachusetts, February 2.
3. 2023, Speaker, Yale Ethics Program, Yale School of Medicine, “Gender-Affirming Care,”
   New Haven, Connecticut, March 8.
4. 2021, Panelist, Pediatric Residency Noon Conference, University of Tennessee Health
   Science Center, “Bioethics Rounds—Ethical Issues in the Care of Transgender Adolescents,”
   Memphis, Tennessee, September 21.
5. 2020, Keynote Speaker, 53rd Annual Clinical Advances in Pediatrics, “Referral to a Fetal
   Care Center: How You Can Help Patients’ Mothers Address the Ethical Issues,” Kansas City,
   Kansas, September 16.
6. 2019, Speaker, Patient and Family Support Services, Primary Children’s Hospital, “Ethical
   Issues in the Care of Trans Adolescents,” Salt Lake City, Utah, December 5.
7. 2019, Speaker, Evening Ethics, Program in Medical Ethics and Humanities, University of
   Utah School of Medicine, “Patients, Parents, and Professionals: Ethical Issues in the
   Treatment of Trans Adolescents,” Salt Lake City, Utah, December 4.
8. 2019, Speaker, Pediatric Hospital Medicine Board Review Course, “Ethics, Legal Issues, and
   Human Rights including Ethics in Research,” Cincinnati, Ohio, September 8.
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9. 2019, Speaker, Advances in Fetology, “Evolving Attitudes Toward the Treatment of
    Children with Trisomies,” Cincinnati, Ohio, September 6.
10. 2019, Speaker, Half-Day Ethics Training: Ethics Consultation & Ethics Committees,
    “Navigating the Rapids of Clinical Ethics Consultation: Intake, Recommendations, and
    Documentation,” Salt Lake City, Utah, June 1.
11. 2019, Speaker, Scientific and Ethical Underpinnings of Gene Transfer/Therapy in Vulnerable
    Populations: Considerations Supporting Novel Treatments, BioNJ, “What Next? An Ethical
    analysis of Prioritizing Conditions and Populations for Developing Novel Therapies,”
    Cranbury, New Jersey, March 7.
12. 2018, Panelist, Periviability, 17th Annual Regional Perinatal Summit, Cincinnati, Ohio,
    October 12.
13. 2018, Speaker, Regional Advance Practice Registered Nurse (APRN) Conference, “Adults
    are Not Large Children: Ethical Issues in Caring for Adults in Children’s Hospitals,”
    Cincinnati, Ohio, April 26.
14. 2018, Speaker, Southern Ohio/Northern Kentucky Sigma Theta Tau International Annual
    Conference, “Between Hope and Hype: Ethical Issues in Precision Medicine,” Sharonville,
    Ohio, March 2.
15. 2017, Speaker, Advances in Fetology 2017, “Ethics of Innovation and Research: Special
    Considerations in Fetal Therapy Centers,” Cincinnati, Ohio, October 27.
16. 2016, Speaker, End-of-Life Pediatric Palliative Care Regional Conference, “Ethical/Legal
    Issues in Pediatric Palliative Care,” Cincinnati, Ohio, September 15.
17. 2016, Speaker, 26th Annual Bioethics Network of Ohio (BENO) Conference, “When Does
    Parental Refusal of Medical Treatment for Religious Reasons Constitute Neglect?” Dublin,
    Ohio, May 29.
18. 2014, Speaker, Cincinnati Comprehensive Sickle Cell Center Symposium: Research Ethics
    of Hydroxyurea Therapy for Sickle Cell Disease During Pregnancy and Lactation, “Ethical
    Issues in Research with Pregnant and Lactating Women,” Cincinnati, Ohio, October 30.
19. 2014, Speaker, Advances in Fetology 2014, ”The ‘Miracle Baby’ and Other Cases for
    Discussion,” Cincinnati, Ohio, September 26.
20. 2014, Speaker, Advances in Fetology 2014, “‘Can you tell me …?’: Achieving Informed
    Consent Given the Prevalence of Low Health Literacy,” Cincinnati, Ohio, September 26.
21. 2014, Panelist, Center for Clinical & Translational Science & Training, Secrets of the Dead:
    The Ethics of Sharing their Data, Cincinnati, Ohio, August 28.
22. 2014, Speaker, Office for Human Research Protections Research Community Forum:
    Clinical Research … and All That Regulatory Jazz, “Research Results and Incidental
    Findings: Do Investigators Have a Duty to Return Results to Participants,” Cincinnati, Ohio,
    May 21.
23. 2013, Opening Presentation, Empirical Bioethics: Emerging Trends for the 21st Century,
    University of Cincinnati Center for Clinical & Translational Science & Training, “Empirical
    vs. Normative Ethics: A Comparison of Methods,” Cincinnati, Ohio, February 21.
24. 2012, Videoconference, New York State Task Force on Life and the Law, “Pediatric Critical
    Care Triage,” New York, New York, March 1.
25. 2011, Presenter, Fall Faculty Development Workshop, College of Social Work, University
    of Utah, “Teaching Ethics to Students in the Professions, “ Salt Lake City, Utah, November
    14.
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26. 2011, Speaker, 15th Annual Conference, Utah Chapter of the National Association of
    Pediatric Nurse Practitioners, “Ethical Issues in Pediatric Practice,” Salt Lake City, Utah,
    September 22.
27. 2011, Speaker, Code Silver! Active Shooter in the Hospital, Utah Hospitals & Health
    Systems Association, Salt Lake City, Utah, March 21.
28. 2009, Speaker, Medical Staff Leadership Conference, Intermountain Healthcare, “The Ethics
    of Leadership,” Park City, Utah, October 30.
29. 2008, Speaker, The Art and Medicine of Caring: Supporting Hope for Children and Families,
    Primary Children’s Medical Center, “Medically Provided Hydration and Nutrition: Ethical
    Considerations,” Salt Lake City, Utah, February 25.
30. 2005, Speaker, Utah NAPNAP (National Association of Pediatric Nurse Practitioners)
    Chapter Pharmacology and Pediatric Conference, “Immunization Update,” Salt Lake City,
    Utah, August 18.
31. 2005, Keynote Speaker, 17th Annual Conference, Utah Society for Social Work Leadership
    in Health Care, “Brain Death: Accommodation and Consultation,” Salt Lake City, March 18.
32. 2004, Continuing Education Presentation, Utah NAPNAP (National Association of Pediatric
    Nurse Practitioners), “Febrile Seizures,” Salt Lake City, Utah, April 22.
33. 2004, Speaker, Advocacy Workshop for Primary Care Providers, “Ethics of Advocacy,” Park
    City, Utah, April 3.
34. 2002, Speaker, 16th Annual Biologic Basis of Pediatric Practice Symposium, “Stem Cells:
    Religious Perspectives,” Deer Valley, Utah, September 14.

Meeting Presentations
International
1. 2024, Panelist, International Conference on Clinical Ethics and Consultation, “Clinical
    Ethicists as Expert Witnesses: A Workshop Based on the Experiences of Clinical Ethicists
    and Lawyers in Pediatrics,” Montreal, Canada, May 31.
2. 2023, Speaker, International Conference on Clinical Ethics and Consultation, “Addressing
    Ethical and Conceptual Issues in Gender-Affirming Medical Care Outside of the Hospital,”
    Rome, Italy, June 8.
3. 2018, Speaker, International Conference on Clinical Ethics and Consultation, “A Systematic
    Review of Typologies Used to Characterize Clinical Ethics Consultations,” Oxford, United
    Kingdom, June 21.

National
1. 2024, Srinivasan Suresh, Sriram Ramgopal, Judith Dexheimer, and Armand H. Matheny
   Antommaria. Workshop Presenter, Pediatric Academic Societies Annual Meeting, “ChatGPT
   for Pediatricians: You’ve Heard About It. Noe Learn How to Use It!” Toronto, May 6.
2. 2023, Speaker, American Society for Bioethics and Humanities Annual Meeting,
   “Addressing Restrictions on Gender-Affirming Medical Care in New Spaces: State Houses
   and Courtrooms,” Baltimore, Maryland, October 13.
3. 2023, Kelsey S. Ryan, Rakhi Gupta Bassuray, Leela Sarathy, Sharon Ostfeld, Armand H.
   Matheny Antommaria, Erin Rholl, Steven R. Leuthner, and Christy L. Cummings. Workshop
   Presenter, Pediatric Academic Societies Annual Meeting, “How Can Newborn Toxicology
   Testing be Equitable?” Washington, DC, April 30.
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4. 2022, Speaker, American Society for Bioethics and Humanities Annual Meeting, “A Mixed
    Methods Analysis of Requests for Religious Exemptions to a COVID-19 Vaccine
    Requirement.” Portland, Oregon, October 27.
5. 2022, Panelist, American Society for Bioethics and Humanities Annual Meeting, Pediatric
    Ethics Affinity Group, “When Ethical Healthcare Is Prohibited By Law, How Do We
    Respond?” Portland, Oregon, October 27.
6. 2022, Speaker, APPD/PAS Fellow Core Curriculum Workshop, Pediatric Academic
    Societies Annual Meeting, “From Idea to Implementation: Navigating the Ethical Landscape
    of Pediatric Clinical Research,” Denver, Colorado, April 22.
7. 2021, Panelist, Pediatric Endocrine Society Annual Meeting, Difference of Sex Development
    Special Interest Group, Virtual Conference, April 29.
8. 2020, Speaker, American Society for Bioethics and Humanities Annual Meeting, “Is This
    Child Dead? Controversies Regarding the Neurological Criteria for Death,” Virtual
    Conference, October 17.
9. 2020, Speaker, American Society for Bioethics and Humanities Annual Meeting,
    “Contemporary Ethical Controversy in Fetal Therapy: Innovation, Research, Access, and
    Justice,” Virtual Conference, October 15.
10. 2020, Speaker, American Society for Bioethics and Humanities Annual Meeting, “K-12
    Schools and Mandatory Public Health Programs During the COVID-19 Pandemic,” Virtual
    Conference, October 15.
11. 2019, Speaker, American Society for Bioethics and Humanities Annual Meeting, “Ethical
    Issues in Translating Gene Transfer Studies Involving Children with Neurodegenerative
    Disorders,” Pittsburgh, Pennsylvania, October 26.
12. 2019, Moderator, Pediatric Academic Societies Annual Meeting, Clinical Bioethics,
    Baltimore, Maryland, April 28.
13. 2018, Presenter, American Society for Bioethics and Humanities Annual Meeting, “Looking
    to the Past, Understanding the Present, and Imaging the Future of Bioethics and Medical
    Humanities’ Engagement with Transgender Health,” Anaheim, California, October 19.
14. 2018, Speaker, American Society for Bioethics and Humanities Annual Meeting, “Should
    Vaccination Be a Prerequisite for Sold Organ Transplantation?” Anaheim, California,
    October 18.
15. 2018, Lindsey Douglas, Armand H. Matheny Antommaria, Derek Williams. Workshop
    Presenter, Pediatric Hospital Medicine Annual Meeting, “IRB Approved! Tips and Tricks to
    Smooth Sailing through the Institutional Review Board (IRB).” Atlanta, Georgia, July 20.
16. 2018, Alan Schroeder, Armand H. Matheny Antommaria, Hannah Bassett, Kevin Chi, Shawn
    Ralston, Rebecca Blankenburg. Workshop Speaker, Pediatric Hospital Medicine Annual
    Meeting, “When You Don’t Agree with the Plan: Balancing Diplomacy, Value, and Moral
    Distress,” Atlanta, Georgia, July 20.
17. 2018, Alan Schroeder, Hannah Bassett, Rebecca Blankenburg, Kevin Chi, Shawn Ralston,
    Armand H. Matheny Antommaria. Workshop Speaker, Pediatric Academic Societies Annual
    Meeting, “When You Don’t Agree with the Plan: Balancing Diplomacy, Value, and Moral
    Distress,” Toronto, Ontario, Canada, May 7.
18. 2017, Speaker, American Society for Bioethics and Humanities Annual Meeting, “Tensions
    in Informed Consent for Gender Affirming Hormone Therapy and Fertility Preservation in
    Transgender Adolescents,” Kansas City, Missouri, October 19.
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19. Lindsey Douglas, Armand H. Matheny Antommaria, and Derek Williams. 2017, Workshop
    Leader, PHM[Pediatric Hospital Medicine]2017, “IRB Approved! Tips and Tricks to Smooth
    Sailing through the Institutional Review Board (IRB) Process,” Nashville, Tennessee, July
    21.
20. 2016, Speaker, American Society for Bioethics and Humanities Annual Meeting, “Ethical
    Challenges in the Care of International Patients: Organization, Justice, and Cultural
    Considerations,” Washington, DC, October 9.
21. 2015, Coauthor, The American Society of Human Genetics Annual Meeting, “Adolescents’
    Opinions on Disclosure of Non-Actionable Secondary Findings in Whole Exome
    Sequencing,” Baltimore, Maryland, October 9.
22. 2012, Speaker, American Society for Bioethics and Humanities Annual Meeting, “A Public
    Health Ethics Analysis of the Mandatory Immunization of Healthcare Personnel:
    Minimizing Burdens and Increasing Fairness,” Washington, DC, October 21.
23. Armand H. Matheny Antommaria, Valerie Gutmann Koch, Susie A. Han, Carrie S. Zoubul.
    2012, Moderator, American Society for Bioethics and Humanities Annual Meeting,
    “Representing the Underrepresented in Allocating Scarce Resources in a Public Health
    Emergency: Ethical and Legal Considerations,” Washington, DC, October 21.
24. 2012, Platform Presentation, Pediatric Academic Societies Annual Meeting, "Qualitative
    Analysis of International Variation in Donation after Circulatory Death Policies and Rates,"
    Boston, Massachusetts, April 30. Publication 3150.4.
25. 2011, Speaker, American Society for Bioethics and Humanities Annual Meeting, “The
    Intersection of Policy, Medicine, and Ethics during a Public Health Disaster: Special
    Considerations for Children and Families,” Minneapolis, Minnesota, October 13.
26. Armand H. Matheny Antommaria and Joel Frader. 2010, Workshop Leader, Pediatric
    Academic Societies Annual Meeting, “Conscientious Objection in Health Care: Respecting
    Conscience and Providing Access,” Vancouver, British Columbia, Canada. May 1. Session
    1710.
27. 2009, Workshop Leader, American Society for Bioethics and Humanities Annual Meeting,
    “Advanced Clinical Ethics Consultation Skills Workshop: Process and Interpersonal Skills,”
    Washington, DC, October 15.
28. 2009, Platform Presentation, Pediatric Academic Societies Annual Meeting, “Qualitative
    Analysis of Donation after Cardiac Death Policies at Children’s Hospitals,” Baltimore,
    Maryland, May 2. Publication 2120.6.
29. 2008, Speaker, American Society for Bioethics and Humanities Annual Meeting,
    “Qualitative Analysis of Donation After Cardiac Death (DCD) Policies at Children’s
    Hospitals,” Cleveland, Ohio, October 26.
30. 2007, Participant, Hamline University School of Law Biennial Symposium on Advanced
    Issues in Dispute Resolution, “An Intentional Conversation About Conflict Resolution in
    Health Care,” Saint Paul, Minnesota, November 8-10.
31. 2007, Speaker, American Society of Bioethics and Humanities Annual Meeting, “Bioethics
    Consultation and Alternative Dispute Resolution: Opportunities for Collaboration,”
    Washington, DC, October 21.
32. 2007, Speaker, American Society of Bioethics and Humanities Annual Meeting, “DNAR
    Orders in Schools: Collaborations Beyond the Hospital,” Washington, DC, October 18.
33. Armand H. Matheny Antommaria and Jeannie DePaulis. 2007, Speaker, National
    Association of Children’s Hospitals and Related Institutions Annual Meeting, “Using
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    Mediation to Address Conflict and Form Stronger Therapeutic Alliances,” San Antonio,
    Texas, October 9.
34. 2006, Speaker, American Society of Bioethics and Humanities Annual Meeting, “Bioethics
    Mediation: A Critique,” Denver, Colorado, October 28.
35. 2005, Panelist, American Society of Bioethics and Humanities Annual Meeting, “How I See
    This Case: ‘He Is Not His Brain,’” Washington, DC, October 20.
36. 2005, Paper Presentation, Pediatric Ethics: Setting an Agenda for the Future, The Cleveland
    Clinic, “’He Is Not His Brain:’ Accommodating Objections to ‘Brain Death,’” Cleveland,
    Ohio, September 9.
37. 2004, Speaker, American Society for Bioethics and Humanities Spring Meeting,
    “Verification and Balance: Reporting Within the Constraints of Patient Confidentiality,” San
    Antonio, Texas, March 13.
38. 2002, Panelist, American Society for Bioethics and Humanities Annual Meeting, “‘Who
    Should Survive?:’ Mental Retardation and the History of Bioethics,” Baltimore, Maryland,
    October 24.

Invited/Visiting Professor Presentations
1. 2013, Visiting Professor, “How to Listen, Speak and Think Ethically: A Multidisciplinary
   Approach,” Norton Suburban Hospital and Kosair Children’s Hospital, Louisville, Kentucky,
   May 22.
2. 2010, Visiting Professor, Program in Bioethics and Humanities and Department of Pediatrics,
   “What to Do When Parents Want Everything Done: ‘Futility’ and Ethics Facilitation,”
   University of Iowa Carver College of Medicine, Iowa City, Iowa, September 10.

Grand Round Presentations
1. 2023, Harvey and Bernice Jones Lecture in Pediatric Ethics, “Too Far or Not Far Enough?
   Assessing Possible Changes in Determining Death and Procuring Organs,” Arkansas
   Children’s Hospital, Little Rock, November 16.
2. 2019, David Green Lectureship, “Establishing Goals of Care and Ethically Limiting
   Treatment,” Primary Children’s Hospital, Salt Lake City, Utah, December 5.
3. 2018, “The Ethics of Medical Intervention for Transgender Youth,” El Rio Health, Tucson,
   Arizona, September 29.
4. 2018, Pediatrics, “Patient Selection, Justice, and Cultural Difference: Ethical Issues in the
   Care of International Patients,” Cleveland Clinic, Cleveland, Ohio, April 10.
5. 2018, Bioethics, “Reversibility, Fertility, and Conflict: Ethical Issues in the Care of
   Transgender and Gender Nonconforming Children and Adolescents,” Cleveland Clinic,
   Cleveland, Ohio, April 9.
6. 2017, Heart Institute, “‘Have you ever thought about what you would want—if god forbid—
   you became sicker?’: Talking with adult patients about advance directives,” Cincinnati
   Children’s Hospital Medical Center, Cincinnati, Ohio, October 16.
7. 2017, Pediatrics, “Respectful, Effective Treatment of Jehovah’s Witnesses,” with Judith R.
   Ragsdale, PhD, MDiv and David Morales, MD, Cincinnati Children’s Hospital Medical
   Center, Cincinnati, Ohio, March 14.
8. 2017, Pediatrics, “Ethical Dilemmas about Discharging Patients When There Are
   Disagreements Concerning Safety,” Seattle Children’s Hospital, Seattle, Washington,
   January 19.
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9. 2015, Pediatrics, “‘Nonbeneficial’ Treatment: What must providers offer and what can they
    withhold?,” Greenville Health System, Greenville, South Carolina, May 10.
10. 2014, Advance Practice Providers, “Common Ethical Issues,” Cincinnati Children’s Hospital
    Medical Center, Cincinnati, Ohio, August 13.
11. 2014, Respiratory Therapy, “Do-Not-Resuscitate (DNR) Orders,” Cincinnati Children’s
    Hospital Medical Center, Cincinnati, Ohio, July 15.
12. 2013, Heart Institute, “No Not Months. Twenty-Two Years-Old: Transiting Patients to an
    Adult Model of Care.” Cincinnati Children’s Hospital Medical Center, Cincinnati, Ohio,
    October 21.
13. 2013, Division of Neonatology, “This Premature Infant Has a BRCA1 Mutation!?: Ethical
    Issues in Clinical Whole Exome Sequencing for Neonatologists.” Cincinnati Children’s
    Hospital Medical Center, Cincinnati, Ohio, October 11.
14. 2013, Department of Pediatrics, “Adults are Not Large Children: Ethical Issues in Caring for
    Adults in Children’s Hospitals,” Cincinnati Children’s Hospital Medical Center, Cincinnati,
    Ohio, February 26.
15. 2012, “Mandate or Moratorium?: Persisting Ethical Controversies in Donation after
    Circulatory Death,” Cedars-Sinai Medical Center, Los Angeles, California, May 16.
16. 2011, Division of Pediatric Neurology Friday Lecture Series, “Inducing or Treating
    ‘Seizures’ with Placebos: Is It Ever Ethical?,” University of Utah, Salt Lake City, Utah,
    October 7.
17. 2011, Department of Surgery, “DNR Orders in the OR and other Ethical Issues in Pediatric
    Surgery: Case Discussions,” Primary Children’s Medical Center, Salt Lake City, Utah,
    October 3.
18. 2009, Department of Pediatrics, “What to Do When Parents Want Everything Done:
    ‘Futility’ and Bioethical Mediation,” Primary Children’s Medical Center, Salt Lake City,
    Utah, September 17.
19. 2008, Division of Pulmonology and Critical Care, “Futility: May Clinicians Ever
    Unilaterally Withhold or Withdraw Medical Treatment?” Utah Valley Regional Medical
    Center, Provo, Utah, April 17.
20. 2007, Division of Otolaryngology-Head and Neck Surgery, “Advance Directives, Durable
    Powers of Attorney for Healthcare, and Do Not Attempt Resuscitation Orders: Oh My!,”
    University of Utah School of Medicine, Salt Lake City, Utah, June 20.

Outreach Presentations
1. 2019, Panelist, Cincinnati Edition, WVXU, “The Ethics of Human Gene Editing,”
   Cincinnati, Ohio, June 13.
2. 2019, Speaker, Adult Forum, Indian Hill Church, “Medical Ethics,” Indian Hill, Ohio, March
   24.
3. 2016, Speaker, Conversations in Bioethics: The Intersection of Biology, Technology, and
   Faith, Mt. Washington Presbyterian Church, “Genetic Testing,” Cincinnati, Ohio, October
   12.
4. 2008, Speaker, Science in Society, Co-sponsored by KCPW and the City Library, “Death—
   Choices,” Salt Lake City, Utah, November 20.
5. 2003, Panelist, Utah Symposium in Science and Literature, “The Goodness Switch: What
   Happens to Ethics if Behavior is All in Our Brains?” Salt Lake City, Utah, October 10.
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6. 2002, Respondent, H. Tristram Englehardt, Jr. “The Culture Wars in Bioethics,” Salt Lake
   Community College, Salt Lake City, Utah, March 29.

Podcasts
1. 2025, “Ethics, Wellness, and Compassion,” Love Rounds, January 15.
2. 2021, “Ethics of COVID Vaccines in Kids,” PHM from Pittsburgh, August 12.
3. 2020, COVID Quandaries: Episode 1, “Is Getting Sick Just Part of the Job?” Hard Call,
   October 6.
